            Case 2:15-cr-00348-RSL         Document 546       Filed 08/23/16     Page 1 of 3




 1                                                                The Honorable Robert S. Lasnik

 2

 3

 4
                            UNITED STATES DISTRICT COURT FOR THE
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 6

 7    UNITED STATES OF AMERICA,                           NO. CR15-348-RSL-15

 8                           Plaintiff,

 9                                                        ORDER GRANTING STIPULATED
                       v.                                 MOTION TO CONTINUE TRIAL AND
10                                                        PRETRIAL MOTIONS DEADLINE
      TJUAN BLYE,
11
                              Defendant.
12

13

14          THE COURT having considered the stipulated motion to continue trial and pretrial
     motions deadline filed by all parties in this matter, as well as the record and files herein,
15
     including Defendant’s written waiver of speedy trial, hereby makes the following findings:
16          1.     Defense counsel and the government have conferred and believe that a trial date

17 in March 2017 is appropriate. The parties further submit that the ends of justice served by
   granting this continuance outweigh the best interests of the public and the defendant in a speedy
18
   trial. 18 U.S.C. § 3161(h)(7)(A); 18 U.S.C. § 3161(h)(7)(B)(i), (iv).
19          2.     On October 29, 2015, Mr. Blye was indicated on a drug conspiracy charge. (Dkt.

20 No. 1). On June 27, 2016, Mr. Blye was arrested and brought into federal custody. At his
   arraignment on June 27, 2016, this Court set a trial date of August 29, 2016. New counsel does
21
   not have discovery yet.
22
     U.S. v. Tjuan Blye.; CR15-348-RSL-15
     Order Granting Motion to Continue Trial and Pretrial Motions Deadline - 1
             Case 2:15-cr-00348-RSL         Document 546            Filed 08/23/16   Page 2 of 3




              3.    The charges in this case arise out of a lengthy wiretap investigation. The case
 1
     involves a significant amount of discovery that counsel for Mr. Blye is just starting to receive
 2
     due to her recent appointment to the case.
 3            4.    The pretrial motion deadline has already passed. Thus, defense needs additional
     time to review the discovery, draft pretrial motions, negotiate a possible resolution, and prepare
 4
     for trial.
 5
              5.    Counsel for the defendant represents that her client agrees with the assessment
 6 that a trial continuance is necessary in order to allow her adequate time to prepare and has
     submitted a written “waiver” of the right to a speedy trial.
 7
              6.    For all these reasons, the Court agrees that to perform effectively, and to avoid a
 8
     miscarriage of justice, newly hired counsel needs adequate time to review the evidence,
 9 investigate, and negotiate before the pretrial motions deadline.
              7.    The Court further agrees that the current schedule provides insufficient time to
10
     insure effective motions and trial preparation, taking into account due diligence and the interests
11
     of justice, within the meaning of 18 U.S.C. §§ 3161(h)(7)(B)(i) and 3161(h)(7)(B)(iv).
12            8.    The Court further finds that the ends of justice will be served by ordering a
     continuance in this case, that a continuance is necessary to insure effective trial preparation and
13
     that these factors outweigh the best interests of the public and the defendant in a more speedy
14
     trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A).
15            9.    Further, the ends of justice served by a continuance outweigh the best interests of
     the public and the defendant in a speedy trial. Mr. Blye has executed a speedy trial waiver and
16
     filed it separately with the Court for consideration. Mr. Blye requests that the court find, for the
17
     purpose of computing time limitations imposed by the speedy trial act, that the period of delay
18 from the date this motion is filed to the new trial date as set by this Court, is excludable time
     pursuant to 18 U.S.C. § 3161(h)(7)(A) and U.S.C. § 3161 (h)(7)(B)(i), (iv).
19
              IT IS THEREFORE ORDERED that the parties’ stipulation motion is GRANTED. The
20
     trial date in this matter is continued to March 13, 2017. All pretrial motions, including motions
21 in limine, shall be filed no later than January 30, 2017.

22
     U.S. v. Tjuan Blye.; CR15-348-RSL-15
     Order Granting Motion to Continue Trial and Pretrial Motions Deadline - 2
            Case 2:15-cr-00348-RSL        Document 546       Filed 08/23/16      Page 3 of 3




            IT IS FURTHER ORDERED that the time period between the date of the filing of the
 1
     stipulated motion and the new trial date of March 13, 2017, is a reasonable delay and is
 2
     excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(6).
 3
            Dated this 23rd day of August, 2016.
 4

 5
                                                       A
 6                                                     Robert S. Lasnik
                                                       United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
     U.S. v. Tjuan Blye.; CR15-348-RSL-15
     Order Granting Motion to Continue Trial and Pretrial Motions Deadline - 3
